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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

JEFFREY JAY,

Plaintiff,

v.                                                         Case No. 6:11-cv-211-Orl-19DAB

NCSPLUS, INC.,

Defendant.
______________________________________/


       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice, with the

Court to reserve jurisdiction for twenty (45) days to enforce the terms of parties settlement

agreement.


Dated: March 9, 2011                          Respectfully submitted,


                                              /s Andrew I. Glenn
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